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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF INDIANA
                                    EVANSVILLE DIVISION

IN RE:                                            )
                                                  )        In Proceedings Under
George L. Farrington Jr.                          )        Chapter 7
Jamie A. Miller                                   )
                                                  )        Case No. 20-70656-AKM-7
              Debtors.                            )

                               MOTION TO AVOID JUDICIAL LIEN
                             AND NOTICE OF OBJECTION DEADLINE

        The Debtors George L. Farrington Jr. and Jamie A. Miller by and through their attorney Kevin S.
Kinkade move the Court pursuant to 11 U.S.C. § 522(f) to avoid the lien of Midland Funding LLC as
Successor in Interest to Capital Retail Bank as Issuer of Paypal Credit Card in the following described
real property located in Vanderburgh County, Indiana:

      The South One-Half (½) of Lot Twelve (12) adjoining Lot Thirteen (13) and all of Lot
      Thirteen (13) in Block Two (2) in Heilman, an addition to the City of Evansville, as per plat
      thereof, recorded in Plat Book C, Page 299 in the Office of the Recorder of Vanderburgh
      County, Indiana.

         More commonly known as 1017 North First Avenue, Evansville, Indiana.

         In support of this motion the Debtors state as follows:

         1.      The Debtors filed this case on June 30, 2020, referred to as the “Petition Date.”
         2.      The creditor obtained a judgment which is a lien on the real property described above.
                 That judgment was obtained pre-petition on November 17, 2014 in Vanderburgh Superior
                 Court under Cause Number 82D06-1409-CC-004258.
         3.      The value of the Property as of the Petition Date was $25,700.00.

                 The other liens on the Property are as as follows:

                     •   Angela Sabater, land contract in the amount of $20,940.20. The Debtors will not
                         seek to remove this lien.
                     •   Professional & Business Collections LLC as agent for Deaconess Hospital Inc.,
                         judgment lien in the amount of $2,210.52. The Debtors will seek to remove this
                         lien by separate motion.
                     •   Deaconess Hospital Inc., judgment lien in the amount of $1,793.22. The Debtors
                         will seek to remove this lien by separate motion.
                     •   Jo Ann McCallister d/b/a Car Time,, judgment lien in the amount of $1,520.00.
                         The Debtors will seek to remove this lien by separate motion.
                     •   Triple S Enterprises Inc., judgment lien in the amount of $4,254.33. The Debtors
                         will seek to remove this lien by separate motion.

         4.      The total amount of all other liens on the Property is $30,718.27.
         5.      The Creditor's lien is in the amount of $1,861.34.
         6.      The amount of the impaired exemption is $19,300.00.
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        7.      The Property has been claimed as exempt. The lien impairs an exemption of the Debtors
                and is subject to avoidance under 11 U.S.C. §522(f).

PLEASE TAKE NOTICE THAT any objection must be filed with the Bankruptcy Clerk within 21 days
of the date of this notice [or such other time as may be permitted by Fed.R. Bank.P. 9006(f)]. Those not
required or not permitted to file electronically must deliver any objection by U.S. Mail, courier, overnight/
express mail or in person at:


                                      United States Bankruptcy Court
                                           352 Federal Building
                                       101 N.W. M.L. King Blvd.
                                           Evansville, IN 47708

The objecting party must ensure delivery of the objection to the party filing the motion. If an objection is
not timely filed, the requested relief may be granted.

        WHEREFORE, the Debtors move the Court to enter an order avoiding creditor's judicial lien
and granting such other relief as appropriate.

                                                          /s/ Kevin S. Kinkade
                                                          Kevin S. Kinkade
                                                          KINKADE & ASSOCIATES
                                                          Attorney for Debtor
                                                          123 N.W. 4th Street, Suite 201
                                                          Evansville, IN 47708
                                                          (812) 434-4909
                                                          (812) 434-4831
                                                          kinkadeassociates@hotmail.com

                                           Certificate of Service

         The undersigned hereby certifies that on August 24, 2020, a copy of the foregoing Motion to
Avoid Judicial Lien and Notice of Objection Deadline was filed electronically. Notice of this filing
will be delivered to the following concerned individuals electronically, through the Court’s electronic case
filing system. Parties may access this filing through said system.

 US TRUSTEE                                            Stacey Wissel
 ustregion10.in.ecf@usdoj.gov                          Chapter 7 Trustee
                                                       tr_wissel_ecf@sbcglobal.net

The undersigned hereby certifies that a true and correct copy of the foregoing document was delivered to
the following concerned individuals by U.S. Mail on this day, August 24, 2020.

 George L. Farrington Jr                               Highest Ranking Officer or Agent of
 Jamie A. Miller                                       Midland Funding LLC
 1017 North First Ave                                  320 E Big Beaver Rd Ste 300
 Evansville, IN 47710                                  Troy, MI 48083-1271

/s/ Kevin S. Kinkade
Kevin S. Kinkade
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